Case 1:24-cv-00648-AA   Document 23-35   Filed 06/20/24   Page 1 of 4




                        EXHIBIT 38
Case 1:24-cv-00648-AA                  Document 23-35        Filed 06/20/24    Page 2 of 4
                                                                       EXHIBIT 38



 1   ARNAUD PARIS
     13 rue Ferdinand Duval
 2   75004, PARIS, FRANCE
     Telephone: +33688283641
     Email: aparis@sysmicfilms.com
 3

 4                   IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                             FOR THE COUNTY OF JACKSON

 6
     In the Matter of:
 7
     HEIDI MARIE BROWN,                            Case No. 23CN05721
 8                       Petitioner,               MOTION FOR SPECIAL
                                                   APPEARANCE WITHOUT WAIVING
 9          and                                    OBJECTION TO SERVICE AND
1O ARNAUD PARIS,                                   JURISDICTION TO ASK FOR
                                                   DISMISSAL OF THIS ENTIRE
                                                   CONTEMPT CASE OR TO SET ASIDE
11
                         Respondent, Pro Per.      WARRANT FOR RESPONDENT'S
                                                   ARREST AS RELIEF THAT
12
                                                   PETITIONER WAS SEEKING HAS
                                                   HAPPENED - CHILDREN ARE WITH
13
                                                   MOTHER IN OREGON AND
                                                   DECLARATION IN SUPPORT
14
                                                   ORAL ARGUMENT REQUESTED
15                                                 WITH REMOTE APPEARANCE OF
                                                   RESPONDENT WHO IS A PRO PER
16                                                 PARTY LIVING IN FRANCE
17

18          1.     I, Arnaud Paris, Respondent Pro Per in the above-captioned case, move
19   this court under a motion for special appearance to set aside the warrant for my arres
20   issued by Judge Orr in this matter and to dismiss the entire case under ORCP21 since
21   the relief that petitioner was seeking in this contempt remedial case has happened:
22   children are in Oregon with their mother. Also this court had no jurisdiction ave
23   Respondent who was living in France in this matter and service was improperly done.
                                                                                       - 1-
24



                                   EXHIBIT 38 - PAGE 1 OF 3
Case 1:24-cv-00648-AA                Document 23-35              Filed 06/20/24          Page 3 of 4


            2.     I respectfully request this Honorable Court to allow me to explain remote!

 2   under Special Appearance why this remedial contempt matter has no reason to be

 3   especially since the relief Mother, Petitioner, was seeking was to have the children bac

 4   in Oregon and the children are currently with Mother in Oregon.

 5          3.     This court also had no jurisdiction over me since I was living in France where

 6   I had returned with the children with the approval of French and US Authorities and I didn'

 7   agree to service by email, the Hague Convention doesn't allow this type of service in

 8   France, which makes service of this contempt case invalid. Therefore, the warrant form

 9   arrest and the entire contempt case should be dismissed or at the very least the warran

10   for my arrest should be set aside as this warrant was part of a remedial case and the

11   relief thought by Petitioner has already happened. Children are with Mother in Oregon.

12          4.     By filing with the court this motion of special appearance and supporting

13   declaration I do not waive my right to objecting to jurisdiction or service in this matter. I

14   hereby declare that the above statement is true to the best of my knowledge and belief,

15   and that I understand it is made for use as evidence in court and is subject to penalty fo

16   perjury of the laws in the state of Oregon.

17          Respectfully,

18   Prepared and efiled on June 5th 2024 from Paris.




         ~
19

20

21   By:_

22   ARNAUD PARIS, Respondent, Pro Per
     13 rue Ferdinand Duval, 75004, PARIS, FRANCE
23   Telephone: +33688283641 - Email: aparis@sysmicfilms.com
                                                                                             -2
24



                                  EXHIBIT 38 - PAGE 2 OF 3
Case 1:24-cv-00648-AA                    Document 23-35                Filed 06/20/24             Page 4 of 4



                                       CERTIFICATE OF SERVICE
 2
        I hereby certify that I served the foregoing MOTION FOR SPECIAL APPEARANCE
 3      WITHOUT WAIVING OBJECTION TO SERVICE AND JURISDICTION TO ASK FOR
        DISMISSAL OF THIS ENTIRE CONTEMPT CASE OR TO SET ASIDE WARRANT
 4      FOR RESPONDENT'S ARREST AS RELIEF THAT PETITIONER WAS SEEKING
        HAS HAPPENED- CHILDREN ARE WITH MOTHER IN OREGON AND
 5      DECLARATION IN SUPPORT on the following party:

                                              Heidi Marie Brown
 6
                                               2256 Abbott Ave
                                             Ashland, OR 97520
 7
                                           heidimparis@gmail.com
                                              Petitioner, Pro Per
 8
     By the following method or methods:
 9
     _ _ by mailing full, true, and correct copies thereof in sealed, first class postage
10   prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
     the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
11   set forth below.

     __2$___ by emailing full, true, and correct copies thereof to the to the pro se party at the email ad
12    shown above, which is the last known email address for the Petitioner on the date set forth bel

13   _ _ by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
     shown above, which is the last known fax number for the attorney(s) office, on the date set fort
14   below. The receiving fax machines were operating at the time of service and the transmission
     properly completed.
15
     _ _ by selecting the individual(s) listed above as a service contact when preparing this electr nic
     filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
16   system.

17   Prepared in Paris, France on June 5th, 2024




          ~~
18

19

20   By:_
     ARNAUD PARIS, Respondent Pro Per
21   13 rue Ferdinand Duval, 75004, PARIS, FRANCE
     Telephone: +33688283641 - Email: aparis@sysmicfilms.com
22

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                                                                                                      -3-
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                                    EXHIBIT 38 - PAGE 3 OF 3
